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                                                                   6             mpagay@pszjlaw.com

                                                                   7    [Proposed] Attorneys for Debtor and Debtor in Possession

                                                                   8
                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                                   LOS ANGELES DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       In re:                                                   Case No.: 2:19-bk-24804-VZ
                                                                  12
                                                                       YUETING JIA,1
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                                            Chapter 11
                                           ATTORNEYS AT LAW




                                                                                                           Debtor.
                                                                  14                                                           STIPULATION TO EXTEND DEADLINE
                                                                                                                               PURSUANT TO FED. R. BANKR. P. 4007(C) AS
                                                                  15                                                           TO LIUHUAN SHAN

                                                                  16
                                                                                                                               [No Hearing Required]
                                                                  17

                                                                  18

                                                                  19             This Stipulation (the “Stipulation”), is made by and between Yueting Jia, debtor and debtor
                                                                  20    in possession (the “Debtor”) in the above-captioned chapter 11 case (the “Chapter 11 Case”) and
                                                                  21    Liuhuan Shan (“Liuhuan” and, together with the Debtor, the “Parties”), with reference to the
                                                                  22    following facts.
                                                                  23                                                              RECITALS
                                                                  24             A.       On October 14, 2019, the Debtor filed a voluntary petition under chapter 11 of title 11
                                                                  25    of the United States Code (the Bankruptcy Code”) in the District of Delaware.
                                                                  26             B.       The date first set for the Debtor’s meeting of creditors pursuant to section 341(a) of
                                                                  27

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                                                                          The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is
                                                                        91 Marguerite Drive, Rancho Palos Verdes, CA 90275.

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                                                                   1   the Bankruptcy Code in the Chapter 11 Case was December 6, 2019.

                                                                   2           C.       On December 19, 2019, the Chapter 11 Case was transferred to the United States

                                                                   3   Bankruptcy Court for the Central District of California (the “Bankruptcy Court”).

                                                                   4           D.       Federal Rule of Bankruptcy Procedure 4007(c) states, in pertinent part, “…. a

                                                                   5   complaint to determine the dischargeability of a debt under § 523(c) shall be filed no later than 60

                                                                   6   days after the first date set for the meeting of creditors under § 341(a).” Therefore, the deadline to

                                                                   7   file a complaint to determine the dischargeability of a debt under Bankruptcy Code section 523(c) in

                                                                   8   the Chapter 11 Case is February 4, 2020 (the “Rule 4007(c) Deadline”).

                                                                   9           E.       In order to facilitate discussions between the Parties regarding issues relating to the

                                                                  10   Debtor’s bankruptcy case, the Parties have agreed to an extension of the Rule 4007(c) Deadline on

                                                                  11   the terms set forth below.
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           NOW, THEREFORE, it is hereby agreed between the Parties, as follows:
                                        LOS ANGELES, CALIFORNIA




                                                                  13           1.       The Rule 4007(c) Deadline, only as to Liuhuan, shall be extended from February 4,
                                           ATTORNEYS AT LAW




                                                                  14   2020, to February 18, 2020.

                                                                  15           2.       Nothing in this Stipulation shall in any way be construed as or deemed to be evidence

                                                                  16   of or reflect an admission on behalf of any Party regarding any claim or right that such Party may

                                                                  17   have against any other Party unless such claim or right is specifically addressed in this Stipulation.

                                                                  18           3.       This Stipulation may not be modified, amended, altered, changed, or waived except in

                                                                  19   a writing signed by all of the Parties.

                                                                  20           4.       Each of the signatories hereto represents and warrants that s/he is authorized to enter

                                                                  21   into this Stipulation by each entity on whose behalf s/he is executing the Stipulation.

                                                                  22           5.       The Parties agree that there are no third-party beneficiaries to this Stipulation.

                                                                  23           6.       This Stipulation may be executed in multiple counterparts by facsimile or email

                                                                  24   signatures, each of which shall be deemed an original. A facsimile or email signature delivered by

                                                                  25   portable data format (.pdf) shall be deemed an original.

                                                                  26           7.       This Stipulation and the communications in connection with its negotiation will not

                                                                  27   be introduced into evidence in the trial of or in any deposition relating to any claims or causes of

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                                                                   1   action between the Parties, or be used in any manner in any litigation or otherwise, except to enforce

                                                                   2   the terms of the Stipulation.

                                                                   3           8.       The Bankruptcy Court shall retain exclusive jurisdiction to resolve any dispute arising

                                                                   4   from or related to the interpretation or enforcement of this Stipulation, to the fullest extent of the

                                                                   5   Bankruptcy Court’s authority under applicable law.

                                                                   6
                                                                       Dated: February 4, 2020                     PACHULSKI STANG ZIEHL & JONES LLP
                                                                   7

                                                                   8                                               By      /s/ Malhar S. Pagay
                                                                                                                           Richard M. Pachulski
                                                                   9                                                       Jeffrey W. Dulberg
                                                                                                                           Malhar S. Pagay
                                                                  10
                                                                                                                           [Proposed] Attorneys for Debtor and
                                                                  11                                                       Debtor in Possession
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Dated: February 4, 2020                     CURTIS, MALLET-PREVOST, COLT & MOSLE LLP
                                           ATTORNEYS AT LAW




                                                                  14

                                                                  15                                                By         __________________________________
                                                                                                                               Lynn P. Harrison III
                                                                  16                                                           Peter Buenger
                                                                  17
                                                                                                                               Attorneys for Creditor, Liuhuan Shan
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         1   action between the Parties, or be used in any manner in any litigation or otherwise, except to enforce

        2    the terms of the Stipulation.

        3           8.      The Bankruptcy Court shall retain exclusive jurisdiction to resolve any dispute arising

        4    from or related to the interpretation or enforcement of this Stipulation, to the fullest extent of the

        5    Bankruptcy Court's authority under applicable law.

        6
             Dated: February 4, 2020                     PACHULSKI ST ANG ZIEHL & JONES LLP
         7

         8                                                By
                                                                 Richard M. Pachulski
         9                                                       Jeffrey W. Dulberg
                                                                 Malhar S. Pagay
        lO
                                                                 {Proposed] Attorneys for Debtor and
        11                                                       Debtor in Possession
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        13   Dated: February 4, 2020
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v.i
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"'"l
5                                                                     Lynn P. Harrison III
c:;     16                                                            Peter Buenger
...<
        17
                                                                      Attorneys for Creditor, Liuhuan Shan
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                    10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): STIPULATION TO EXTEND DEADLINE
PURSUANT TO FED. R. BANKR. P. 4007(C) AS TO LIUHUAN SHAN will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 4, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) ____________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 4, 2020, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 VIA HAND DELIVERY
 The Honorable Vincent P. Zurzolo
 United States Bankruptcy Court
 Central District of California
 255 East Temple Street, Suite 1360 / Courtroom 1368
 Los Angeles, CA 90012

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  February 4, 2020               Mary de Leon                                                    /s/ Mary de Leon
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jeffrey W Dulberg jdulberg@pszjlaw.com
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        Kelly L Morrison kelly.l.morrison@usdoj.gov
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        Benjamin Taylor btaylor@taylorlawfirmpc.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Emily Young pacerteam@gardencitygroup.com,
         rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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